                                 UNITED STATES BANKRUPTCY COURT
                                       Eastern District of Missouri
                                    Thomas F. Eagleton U.S. Courthouse
                                   111 South Tenth Street, Fourth Floor
                                           St. Louis, MO 63102


In re:                                                        Case No.: 20−43597 − A399
Briggs & Stratton Corporation                                 Chapter: 11

Debtor(s)

                         ORDER ON MOTION FOR ADMISSION PRO HAC VICE




   The Court, having considered Ryan J Cooney's motion for admission pro hac vice, has determined that cause
exists to grant the relief requested. It is, therefore,

   ORDERED that the motion is GRANTED, and Ryan J Cooney is admitted pro hac vice to the bar of this Court for
the purpose of appearing in this case only.




                                                              U. S. Bankruptcy Judge


Dated: 12/3/20
St. Louis, Missouri
Rev. 09/16 omphvbk
